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                                UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF OREGON


In re:                                )                       Case No.: 12-33720-pcm13
                                      )
                                      )
Denice Irlene Ward
                                      )                       12 C.F.R. §1024.35(b)(2) and/or 12 C.F.R
     Debtor(s)
                                      )                       1024.35(b)(11)
_____________________________________ )
                                      )
Denice Irlene Ward,                   )
                                      )
      Plaintiff,                      )                       Adv. Proc No:
                                      )
                 v.                   )                       COMPLAINT
                                      )                         1. VIOLATION OF 11 U.S.C. § 1301,
Federal National Mortgage Association )                            §105(a),
Nationstar Mortgage LLC,              )                         2. BREACH OF CONTRACT
                                      )                            Breach of Duty of Good Faith and Fair
      Defendant,
                                      )                            Dealing
                                      )                         3. Contempt of Bankruptcy Court -
_____________________________________ )                            Violations of 11 U.S.C. §105
                                      )
                                      )

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Page 1 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                      Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                       Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1    Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                    Office: (503) 278-5400
                                                           )       4. Violations of 12 C.F.R. § 1024.35, et
                                                          seq. - Real Estate Settlement
                                                          Procedures Act (RESPA)
                                                       5. Violations of 15 U.S.C. §1601, et seq. -
                                                          Truth in Lending Act (TILA)
                                                       6. Violations of 15 U.S.C. §1691, et seq. -
                                                          Fair Debt Collection Practices Act
                                                          (FDCPA)
                                                       7. Violations of Oregon Unfair Trade
                                                          Practices Act
                                       LBR 7007-1 CERTIFICATION
         1.       Prior to filing this complaint, Plaintiff Denice Irlene Ward (hereinafter “Plaintiff”
or “Ward”) contacted Defendant Federal National Mortgage Association DBA Fannie Mae
(“Fannie Mae”); and Nationstar LLC, as registrant for Mr. Cooper,(“Nationstar’, collectively
with Fannie Mae the “Defendants”), which purchased Seterus LLC which had been the servicer
of Plaintiff’s loan since she filed her bankruptcy via phone, email, mail, and a third party in an
attempt to get a pay-off quote. Defendant Nationstar failed to provide the quote until Plaintiff
had to retain counsel and was damaged. Defendant has made no attempt to make Plaintiff whole
nor has it apologized for the time and cost that was incurred in handling Defendant Nationstar’s
mistakes. After entering into a settlement agreement with Defendant Nationstar over past issues
pertaining to misapplication of mortgage payments, Plaintiff again began to get erroneous
periodic billing statements. She has demanded that the issues on these statements be fixed and
that she be sent periodic billing statements containing the correct information on the account. .
As of the filing of this motion the problem does not appear fixed and she is not in possession of a
statement that accurately states her account. After several years, and one failed settlement
agreement attempting to resolve this issue, Plaintiff’s only viable option for redress is through
this Court.
                                PARTIES, JURISDICTION AND VENUE
         2.       This Court has subject matter jurisdiction under 28 U.S.C. §§ 1334, 105 because
the initial motion for contempt was brought within Plaintiff’s Bankruptcy Case, the settlement
agreement was signed pursuant to claims made in bankruptcy, and the initial case was pursuant
to the violation of a Bankruptcy Court Order. Venue is proper because Defendant has at all
times attempted to collect debt from Plaintiff in Oregon and the issues arose from Defendant’s
handling of Plaintiff’s account while it part of Plaintiff’s Oregon Bankruptcy case.


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Page 2 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                        Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
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                             Case 19-03107-tmb                 Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
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          3.      This Court has supplemental jurisdiction of any related State or Federal law
claims for relief in this action under 28 U.S.C. § 1367, 28 U.S.C. § 1367, 28 U.S.C. § 1331
and/or 28 U.S.C. § 1337 based on Plaintiff’s claims under the Real Estate Settlement Procedures
Act, 12 U.S.C. § 2605, the Truth in Lending Act, 15 U.S.C. § 1601, et seq., the Fair Debt
Collection Practices Act, 15 U.S.C. § 1691, et seq.
          4.      Pursuant to LR 5010-1(a), Plaintiff’s current mailing address is 849 South
Oleander Cornelius, Oregon 97113.
          5.      Defendant Federal National Mortgage Association is a government sponsored
enterprise and a publicly traded company which pursuant to its pooling and servicing servicing
agreement is the party to which Plaintiff may assert claims for any violations of the Loan
committed by the Trust.
          6.      Defendant Nationstar LLC, as registrant for Mr. Cooper, which purchased Seterus
LLC is a mortgage servicer with its principal place of business located in Dallas, Texas. For all
relevant times herein Nationstar was the servicer of the Loan.
          7.      Plaintiff’s claim is a core proceeding under 28 U.S.C. § 157(b)(2) and Plaintiff
consents to entry of final orders and judgments by the Oregon Bankruptcy Court.
                                              NATURE OF CLAIMS
          8.      Pursuant to 11 U.S.C. § 105 and this Court’s inherent and equitable power,
Denice Irlene Ward (“Plaintiff”), by and through counsel, seek an Order from this Court finding
Defendant in breach of the settlement agreement, in violation of 11 U.S.C. § 524, § 1301,
§105(a), Breach of Contract, Breach of Duty of Good Faith and Fair Dealing, Violations of 12
C.F.R. § 1024.35, et seq. - Real Estate Settlement Procedures Act (RESPA), Violations of 15
U.S.C. §1601, et seq. - Truth in Lending Act (TILA), Violations of 15 U.S.C. §1691, et seq. -
Fair Debt Collection Practices Act (FDCPA), and Violations of Oregon Unfair Trade Practices
Act.
                                           SUMMARY OF CLAIMS
          9.      In January 2013, the CFPB issued a number of final rules concerning mortgage
markets in the United States, pursuant to the DFA, Public Law No. 111-203, 124 Stat. 1376
(2010).
          10.     Mrs. Ward is an “individual” or “consumer” as those terms are defined by federal
and state statutes.

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Page 3 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
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         11.      Mrs. Ward’s Loan is a “federally related mortgage loan” as said term is defined
by 12 C.F.R. § 1024.2(b).
         12.      Mrs. Ward’s Loan is a “consumer transaction” as said term is defined by the
FDCPA as the Loan was taken out for Mrs. Ward’s personal use.
         13.      Nationstar Inc. is subject to Regulations X and Z and does not qualify for the
exception for “small servicers”, as such term is defined in 12 C.F.R. § 1026.41(e)(4), nor the
exemption for a “qualified lender”, as such term is defined in 12 C.F.R. § 617.700.
         14.      Nationstar Inc. is a “debt collector” as that term is defined by the FDCPA.
         15.      Nationstar Inc. and Federal National Mortgage Association are a “Creditor” as
that term is defined by the Bankruptcy Code.
         16.      Mrs. Ward asserts a claim for relief against Nationstar Inc. for breaches of the
specific rules under Regulation X as set forth, infra.
         17.      Mrs. Ward asserts a claim for relief against Federal National Mortgage
Association for breaches of the specific rules under Regulation Z as set forth, infra.
         18.      Mrs. Ward asserts a claim for relief against Nationstar Inc. and Federal National
Mortgage Association for breaches of orders of the Bankruptcy Court as set forth, infra.
         19.      Mrs. Ward asserts a claim for relief against Nationstar Inc. for violations of the
Fair Debt Collection Practices Act as set forth, infra.
         20.      Mrs. Ward asserts a claim for relief against Nationstar and Federal National
Mortgage Association for breaches of the Oregon Unfair Trade Practices Act, as set forth, infra.
         21.      Mrs. Ward also asserts claims under common law against the Defendants, jointly
and severally as applicable for breach of contract.
                                         FACTUAL BACKGROUND
                                       (Prior Litigation with Fannie Mae)
         Like many borrowers during the late 2000s and early 2010s Mrs. Ward suffered some
economic hardships which compelled her to file a Chapter 13 Bankruptcy to reorganize her debts
and save the family home.
         22.      Mrs. Ward was a Debtor in Chapter 13 Case No. 12-33720-PCM13filed in the
United States Bankruptcy Court for the District of Oregon on May 14, 2012. (the “Bankruptcy
case”) Mrs. Ward completed her Chapter 13 Plan and was discharged on September 07, 2016.



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Page 4 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
         24.      Since the Chapter 13 was discharged the Mrs. Ward and Fannie Mae were
opposing parties in a separate Motion for Contempt brought by Mrs. Ward related to Fannie
Mae’s inability to properly account for the pre-discharge and post-discharge mortgage payment
disbursements.
         25.      Mrs. Ward and Fannie Mae reached a settlement on the dispute. As part of the
settlement, Fannie Mae (through its Servicer) was instructed to…”provide Plaintiff in the
ordinary course of business, a mortgage statement on November 1, 2018 showing that Plaintiff is
current on her mortgage for 849 South Oleander Cornelius, Oregon 97113; she does not owe any
delinquent fees, charges, and is current with her payments; and that the escrow account is
current, other than for naturally occurring annual increases in taxes and insurance that may have
happened since her last escrow statement.”
         26.      As agreed to and instructed Mrs. Ward tendered the contractual mortgage
payment of $1,029.31 monthly to Seterus
         27.      Plaintiff did not receive a mortgage statement from Seterus in either November
of 2018 or December of 2019.
         28.      In January of 2019 Plaintiff received a mortgage statement from Seterus misstated
what she owed and demonstrated that her payments had been misapplied. On Jan. 28, 2019
Plaintiff, through Counsel, demanded Seterus cease collection of erroneous attorney fees it was
charging Plaintiff and to provide a conforming mortgage statement. Seterus agreed to cease
collection of the fees but did not provide the conforming mortgage statement.
         29.       On February 13, 2019 Plaintiff received a mortgage statement from Seterus that
misstated what she owed and demonstrated that her payments had been misapplied. A copy of
the February 13, 2019 statement is attached as Exhibit A to this Complaint.
         30.      On February 26, 2019 the Plaintiff, through Counsel, received correspondence
from Seterus, a copy of which is attached as Exhibit B, in which Seterus explicitly stated that as
of February 26, 2019, “the loan is contractually current”. See Exhibit B at p. 1
         31.      On or about March 15, 2019 Plaintiff’s Counsel received written notification that
Defendant Nationstar had acquired Ward’s mortgage loan and that as of March 1, 2019
Nationstar would be the servicer of Ward’s mortgage loan.
         32.      On March 20, 2019 Plaintiff attempted, over the phone, to obtain information
from Defendant Nationstar to allow her to refinance her home. Plaintiff also reached out to

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Page 5 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
Defendant Nationstar with concerns over how her mortgage was being handled and questions
about what was owed. During this call, Defendant Nationstar refused to discuss the loan or the
servicing problems with the Plaintiff .
         33.      On March 22, 2019 Plaintiff received a mortgage statement from Defendant
Nationstar that misstated what she owed, stated that she was behind on her loan in the amount of
$3,086.08, and demonstrated that her payments had been misapplied. A copy of the March 22,
2019 statement is attached as Exhibit C to this Complaint.
         34.      On April 12, 2019 Plaintiff received a mortgage statement from Defendant
Nationstar that misstated what she owed and demonstrated that her payments had been
misapplied. This statement, attached as Exhibit D to this Complaint, noted that the Plaintiff was
$4,117.24 delinquent. See Exhibit D at p. 1
         35.      Plaintiff received a mortgage statement dated May 20, 2019 from Defendant
Nationstar that misstated what she owed and demonstrated that her payments had been
misapplied. This statement, attached as Exhibit E to this Complaint, noted that the Plaintiff was
$5,146.55 delinquent. See Exhibit E at p. 1
         36.      Despite being current on her payments, Plaintiff received a letter from Defendant
Nationstar dated June 5, 2019 stating that her loan was past due. This letter, attached as Exhibit
F to this Complaint, notified Ward that “As of 05/01/2019, your loan is past due”. Exhibit F at p.
1
         37.      Plaintiff received a mortgage statement from Defendant, dated June 18, 2019, that
misstated what she owed and demonstrated that her payments had been misapplied. This
statement, attached as Exhibit G to this Complaint, noted that the Plaintiff was $6,175.86
delinquent. See Exhibit G at p. 1
         38.      During this time Plaintiff was desperately trying to refinance her loan so that she
could pay for a new roof before winter and escape from the incompetence of Seterus and
Nationstar Her loan officer assisted Plaintiff in trying to obtain the payoff quote but was
unsuccessful.
         39.      Plaintiff sent Defendant Nationstar a letter dated June 26, 2019 demanding a
payoff quote pursuant to 12 C.F.R. § 1026.36(c)(3) (“RFI #1”). A copy of RFI #1 is attached as
Exhibit H
         40.      . Defendant Nationstar did not provide the payoff quote in response to RFI #1.

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Page 6 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
         41.      On July 12, 2019 Plaintiff spoke with a representative of Fannie Mae and
Nationstar and neither was able to provide her a payoff quote.
         42.      Plaintiff had another conversation with the Fannie Mae on July 20, 2019 and it
was still unable to provide a payoff quote nor explain its erroneous accounting.
         43.      On July 25, 2019 Plaintiff emailed a demand for a payoff quote within 10 days to
Fannie Mae at the email address it provided. Defendant Fannie Mae did not reply.
         44.      Plaintiff’s attorneys sent a Notice of Error (“NOE #1”) to both Defendants on July
29, 2019 along with another demand for a payoff quote. A copy of NOE #1 is attached as Exhibit
I.
         45.      The payoff quote was not received by Plaintiff until August 19, 2019.
         46.      Through counsel, Plaintiff received a history of the loan that does not reflect that
Fannie Mae and/or Nationstar have abided by the terms of the prior settlement agreement.
                           IMPACT OF DAMAGE UPON DENICE WARD
         47.      Based on the allegations above Nationstar and Fannie Mae engaged in a now nine
month violation of the settlement agreement from the Bankruptcy case. Nationstar, Fannie Mae
and Mrs. Ward knew based on an agreed settlement what the intention was for all payments
tendered since entering into the agreement.
         48.      Despite the settlement agreement and the fact that the Plaintiff had tendered all
payments due, the Defendants failed to properly apply six months of payments.
         49.      Defendants repeatedly refused to disclose a payoff quote to Plaintiff despite its
obligations under 12 C.F.R. § 1026.36(c)(3).
         50.      Defendants were aware of the difficulty and emotional hardship that this was
causing for Plaintiff. The previous litigation with Defendant had left Plaintiff vulnerable and
Defendant’s refusal to allow heraccess to her loan was humiliating.
         51.       Defendant’s failure to timely respond to the Notice of Error further exacerbated
the on-going misapplication of payments and inability of Plaintiff to refinance her mortgage
because if Defendant had conducted a reasonable investigation of the detailed payments,
Defendant would have discovered that the loan was current and could be paid off.
         52.      As a result of the actions of the Defendants as detailed herein, Mrs. Ward has
suffered actual economic damages including but not limited to: (1) time spent handling, change
in the price she needs to pay for a rush job, a potential change in interest rates, and costs

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Page 7 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
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stemming from the delay in her application, as well as the employment of counsel. In addition to
the actual economic damages above, the Plaintiff has suffered non-economic damages in a yet to
be determined amount related to: (1) The emotional distress from Defendant’s refusal to provide
a payoff quote or properly apply her payments which has resulted in loss of sleep, anxiety,
depression, embarrassment, and other significant emotional distress; and (2) the continued
emotional distress driven by the fear that she may have to lose her home if its roof can’t be fixed.
                               COUNT ONE: AGAINST ALL DEFENDANTS
                                                 [Breach of Contract]


         53.      Plaintiff restates and incorporates all of her statements and allegations contained
in Paragraphs 1 through 59 in their entirety as if fully rewritten herein.
         54.      The Loan is an enforceable contract between the Plaintiff and Federal National
Mortgage Association as well as Federal National Mortgage Association’s servicers for the
relevant times herein, Seterus Inc. (all relevant times through March 1, 2019) which became
Nationstar Mortgage (March 1, 2019 to the present).
         55.      Based on the allegations herein Plaintiff tendered all required payments to
Defendants since November 1, 2018.
         56.      Based on the allegations contained herein as well as Exhibits A through H, has
failed to properly account for those tendered payments.
         57.      Mrs. Ward has performed her obligations as required by the terms of the Loan and
the settlement in the Bankruptcy Case.
         58.      Based on Paragraphs 1 and 2 of the Deed of Trust, Fannie Mae and Nationstar had
an obligation to properly apply all funds when tendered to the balances owed to the interest,
principal, escrow, late fees, and then any other corporate advances due on the Loan. Based on the
allegations contained herein, supra, these funds have not been credited which led to the improper
declaration of default of the Loan. Based on Exhibits A through G, Nationstar and/or Fannie Mae
has taken funds directly earmarked to go to those loan accounts and applied those funds to other
balances due on the loan and/or in an improper manner as required under the Note, Deed of Trust
and the Settlement Agreement in the Bankruptcy Case.
         59.      Based on the allegations herein the Defendants have each breached the Loan
agreement and this breach is one of bad faith as demonstrated by the allegations, supra, and

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Page 8 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
Exhibits A through G. Nationstar Inc. has failed to exercise reasonable diligence in the service of
the Loan. Both Defendants owe Mrs. Ward a fiduciary duty to handle payments of principal,
interest, and escrow properly. Nationstar Inc., on behalf of the Federal National Mortgage
Association, has breached its duty by failing to accept and apply payments made in accordance
with the terms of the Settlement and the Loan.
         60.      Defendants have breached the contract and Plaintiff is entitled to actual damages
against all Defendants of at least $6,175.86.
                              COUNT TWO: AGAINST ALL DEFENDANTS
                              [Breach of Duty of Good Faith and Fair Dealing]

         61.      Plaintiff restates and incorporates all of her statements and allegations contained
in Paragraphs 1 through 59 in their entirety as if fully rewritten herein.
         62.      The Defendants owed Plaintiff a duty of good faith and fair dealing, which is
implied in every agreement.
         63.      Defendants breached those duties, as described above, and further breached their
duties to Plaintiff by, failing to timely acknowledge and accurately review all of the paperwork
sent in by Plaintiffs, and/or by improperly denying Plaintiff’s repeated requests for a payoff
quote.
         64.      As the direct and proximate result of Defendants’ breaches, Plaintiff has incurred
damages in an amount of to be determined.. The Plaintiff also claims her right to attorney fees
and costs pursuant to the deed of trust and ORS 20.096.
     COUNT THREE: AGAINST FEDERAL NATIONAL MORTGAGE ASSOCIATION
             [Violation of 11 U.S.C. 105 - Violation of Court Order on Settlement]
                [Violation of 11 U.S.C. 105 - Violation of Fed. Bank. R. 3002.1]
      [Violation of 11 U.S.C 541(i) – Failure to Properly Credit Payments Made Under a
                                       Chapter 13 Plan]

         65.      Plaintiff restates all allegations contained in Paragraphs 1 through 59 with the
same force and effect as though fully set forth herein.
         66.      Based on the allegations above both of the Defendants were an active participant
in the Mrs. Ward’s Bankruptcy.
         67.      Despite the existence of a Settlement Agreement entered into with the Bankruptcy
Court for violations of the Court’s Orders related to Fed. Bankr. R. 3002.1 and 11 U.S.C. 541(i),


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                                                                                                  14705 SW Millikan Way
Page 9 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
Fannie Mae’s loan servicers – Seterus and now Nationstar - have willfully mishandled the
contractual mortgage payments after the discharge order of this court for over three years.
         68.      Fannie Mae and Nationstar’s above-described actions are deliberate and are
intentional adverse acts done with respect to the Plaintiff’s Mortgage Loan and Plaintiffs’ credit
reports.
         69.      Fannie Mae and Nationstar‘s policies and procedures show a complete and
reckless disregard toward the Orders of the Bankruptcy Court. The actions of Federal National
Mortgage Association and Nationstar Inc. as demonstrated by Exhibits A through G have caused
material injuries to the Plaintiff and have caused the Plaintiff lost time, undue hardship, stress,
and damage to her credit.
         70.      The actions of Fannie Mae and Nationstar as demonstrated by Exhibits A through
G indicate a systemic problem within Federal National Mortgage Association and Nationstar Inc.
concerning how it processes Orders of the Bankruptcy Court and handles the accounting of
mortgage loans.
         71.      As a result of the Defendants’ actions, Fannie Mae and Nationstar are each liable
to the Plaintiff for actual damages in a total amount to be determined at trial, attorneys’ fees and
costs, and a finding of punitive damages under 11 U.S.C. § 105 in an amount this Court deems
just and proper.
                          COUNT FOUR: AGAINST NATIONSTAR
     [Failure to Properly Acknowledge a Notice of Error in Violation of 12 C.F.R. § 1024.35
        and Failure to Respond to a Notice of Error in Violation of 12 C.F.R. § 1024.35]

         72.      Plaintiff restates all allegations contained in Paragraphs 1 through 59 as if fully
restated herein.
         73.      12 C.F.R. § 1024.35(a) provides “[a] servicer shall comply with the requirements
of this section for any written notice from the borrower that asserts an error and that includes the
name of the borrower, information that enables the servicer to identify the borrower's mortgage
loan account, and the error the borrower believes has occurred.”
         74.      12 C.F.R. § 1024.35(d) provides that a servicer must acknowledge in writing
receiving a notice of error from a borrower within five days of receipt.
         75.      12 C.F.R. § 1024.35(a) provides “[a] servicer shall comply with the requirements
of this section for any written notice from the borrower that asserts an error and that includes the

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                                                                                                  14705 SW Millikan Way
Page 10 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
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                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
name of the borrower, information that enables the servicer to identify the borrower's mortgage
loan account, and the error the borrower believes has occurred.”
         76.      Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. §1024.35(a)
provides that “[a] notice of error is submitted by a borrower if the notice of error is submitted by
an agent of the borrower.”
         77.      12 C.F.R. §1024.35(e)(1) provides that a servicer must respond to a notice of
error by either correcting the error or errors identified by the borrower and providing the
borrower with a written notification of the correction, the effective date of the correction, and
contact information, including a telephone number, for further assistance” or by conducting a
reasonable investigation and providing the borrower with a written notification that includes a
statement that the servicer has determined that no error occurred, a statement of the reason or
reasons for this determination, a statement of the borrower's right to request documents relied
upon by the servicer in reaching its determination, information regarding how the borrower can
request such documents, and contact information, including a telephone number, for further
assistance.”
         78.      As stated above, supra, Plaintiff sent Nationstar Inc. a Notice of Error July 26,
2019 to Nationstar Inc.’s designated address for such. See Exhibit I.
         79.      Exhibit I contained substantive allegations of errors in violation of 12 C.F.R.
1024.35(b)(2) and/or 12 C.F.R. 1024.35(b)(11) as well as errors in violation of 12 C.F.R.
1024.35(b)(5). See Exhibit I.
         80.      Exhibit I contained substantive allegations of errors in violation of 12 C.F.R.
1024.35(b)(11). See Exhibit I.
         81.      Based on the allegations herein Plaintiff made at least three requests to Nationstar,
the last as part of the Notice of Error, and did not receive a response within seven business days.
         82.      Nationstar has committed at least three (3) willful violations of Regulation X.
         83.      Based on the allegations herein, the actions of Nationstar are part of a pattern and
practice of behavior in conscious disregard for Plaintiff’s rights.
         84.      As a result of such actions, Nationstar is liable to Plaintiff for actual damages as
described, supra, as well as for statutory damages per violation, costs, and attorneys’ fees.
                              COUNT FIVE: AGAINST FANNIE MAE
                                  Violation of 12 C.F.R. §1026.41
               [Violation of TILA - failure to send correct periodic billing statements]

                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
                                                                                                  14705 SW Millikan Way
Page 11 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
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         85.      Plaintiff restates and incorporates all of her statements and allegations contained
in paragraphs 1 through 59 in their entirety, as if fully rewritten herein.
         86.      12 C.F.R. §1026.41(a) requires that a servicer must provide the consumer a
periodic statement meeting the requirements of 12 C.F.R. §1026.41 for each billing cycle of the
transaction.
         87.      12 C.F.R. §1026.41(d) provides that the required periodic billing statements shall
include information including the amount due, an explanation of the amount due, delinquency
information, and account information including the current outstanding principal balance and
interest rate.
         88.      Plaintiff is a consumer as that term is defined by TILA.
         89.      From November 1, 2018 through December 31, 2018, Fannie Mae, through its
servicer, failed to send a periodic billing statement to be sent to Plaintiff. This is two (2) months
of missing statements.
         90.      Despite the failure of Fannie Mae through its servicer(s) to send the November
2018 and December 2018 statements, Fannie Mae through its servicers Seterus and Nationstar
sent periodic billing statements from January 2019 to the present. See Exhibits A, C, D, E, G
generally.
         91.      Fannie Mae should have known that it was obligated to provide a periodic billing
statement for November of 2018 and December of 2018 both because it is mandated by
Regulation z to TILA but also because it was required bythe settlement agreement.
         101.     In addition to failing to send the statements for November 2018 and December 2018
based on the allegations herein and Exhibits A, C, D, E and G, Fannie Mae through its servicers
have sent nine (9) statements which contain inaccurate information including but not limited to (1)
the amount past due; (2) unapplied partial payments and (3) Interest Bearing Principal Balance.
See Exhibits A, C, D, E, and G generally.
         102.     The knowing failure to transmit accurate and truthful information through the
periodic billing statements wholly defeated the purpose of such statements, that is, to properly
provide accurate disclosures to the Plaintiff as to their obligations on the Loan.
         103.     Based on the allegations above each of these violations herein caused the Plaintiff
to be harmed by never knowing what the correct balance of the loan was as well as by suffering

                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
                                                                                                  14705 SW Millikan Way
Page 12 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
continued concern that her payments were not being applied properly. Fannie Mae’s actions, as
done by their servicers described herein, demonstrate a pattern and practice in conscious disregard
of Plaintiff’s rights.
         104.     As a result of the above violations described herein, Fannie Mae is liable to the
Plaintiff for statutory damages of at least $400.00 but not to exceed $4,000.00 for each of the ten
(10) separate violations, actual damages of at least $6,175.86, and reasonable attorneys’ fees and
costs.
                          COUNT SIX: AGAINST NATIONSTAR
                                Violation of 15 U.S.C. §1692k
                     [Violation of the Fair Debt Collection Practices Act]

         105.     Plaintiff restates and incorporates all of her statements and allegations contained in
paragraphs 1 through 59 in their entirety, as if fully rewritten herein.
         106.     Based on the allegations herein and Exhibits C through G, Nationstar, Inc. acted at
all times in the servicing of this loan as a debt collector as it began servicing this loan at a time
when it was in default.
         107.     Plaintiff is a consumer as that term is defined by the FDCPA.
         108.     The Loan is a consumer debt as that term is defined by the FDCPA because the
Loan was incurred for household purposes--namely the financing of a deed of trust on the
Plaintiff’s residence.
         109.     Based on the allegations contained herein, supra, each of the six (6) statements sent
by Nationstar (either as Nationstar or Seterus) contain a misrepresentation of the character, amount
and legal status of the loan. Nationstar (either as Nationstar or Seterus) represented to Plaintiff in
each of these statements that she owed sums on the loan which were not in fact true. See Exhibits
A through G
         110.     Nationstar sent Plaintiff a letter misrepresenting that her loan was past due and
states that Nationstar is a debt collector attempting to collect a debt. See Exhibit F
         111.     Based on the fact that Nationstar took over servicing of the loan from Seterus Inc.
after the settlement agreement had been entered into by the parties Nationstar knew or should have
known, of the Settlement in the Bankruptcy Case. Nationstar violated 15 U.S.C. §1692(f) by
sending each statement like Exhibits A, C, D, E, and G because its conduct as outlined herein
constitutes an unconscionable means to collect or to attempt to collect a debt.


                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
                                                                                                  14705 SW Millikan Way
Page 13 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
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         117.     Plaintiff was damaged by the above actions as described supra.
         118.     Nationstar has violated the FDCPA and is liable to Plaintiff for an award of
statutory damages, actual damages, and legal fees pursuant to 15 U.S.C. §1692k(a).
                           COUNT SEVEN: ALL DEFENDANTS
                    (Violation of the Oregon Unfair Trade Practices Act)

         119.     Plaintiff restates and reincorporates the allegations contained in Paragraphs 1
through 50 as if set forth in full herein.
         120.     The Defendants, acting within the course of their business, did within the State of
Oregon sell or offer to sell services that are covered by ORS § 646.605 and ORS § 646.608 and
the services were primarily used for personal, family or household purposes. Specifically Seterus
and Nationstar, Inc., on behalf of Federal National Mortgage Association, held themselves out as
the servicers of the Deed of Trust which involved the “Loan” as that term is defined by ORS §
646.605
         121.     Based on the allegations above, supra, and more specifically described in
Paragraphs 1 through 59 the Defendants, as applicable, did willfully and/or negligently engage in
conduct in violation of ORS § 646.608(1)(u) and (4), and OAR 137-020-0805(3) and (6). The
Plaintiff has suffered an ascertainable loss as a result of the unfair trade practice of at least
$6,175.86.
         122.     More specifically Defendants Nationstar and Fannie Mae have failed to deal with
Plaintiff in good faith following the settlement in the Bankruptcy. As demonstrated by Exhibits
A-I and the allegations herein, supra, Nationstar and Fannie Mae have repeatedly engaged in a
pattern of misapplying the tendered payments by Plaintiff since November 2018.
         123.     At all material times each of the Defendants acted knowingly, willfully,
maliciously, and with a reckless and outrageous indifference to a highly unreasonable risk of
harm and a conscious indifference to the health, safety, and welfare of Plaintiff.
         124.     Plaintiff is therefore entitled to the greater of: actual in an amount to be
determined plus punitive damages of $500,000.00 together with their attorney’s fees and costs
pursuant to the statute and pursuant to the Note and Deed of Trust, and expenses and any
equitable relief the court considers necessary or proper, or $200 pursuant to ORS § 646.638(1).
                                            PRAYER FOR RELIEF
         WHEREFORE Plaintiff Denice Ward prays for relief as follows on her claim against

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                                                                                                  14705 SW Millikan Way
Page 14 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
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Defendants Federal National Mortgage Association and Nationstar LLC
    A. On her First Claim for Relief for Plaintiff’s actual damages of at least $6,175.86 and in an
         amount to be determined at trial against the Defendants, jointly and severally, as
         applicable;
    B. On her Second Claim for Relief for Plaintiff’s actual damages of at least $6,175.86, and
         in an amount to be determined at trial against Defendants, jointly and severally, as
         applicable;
    C. On her Third Claim for Relief, all actual damages in an amount to be determined at trial,
         all punitive damages in an amount to be determined at trial plus Plaintiff’s Attorneys’
         Fees and Costs pursuant to 11 U.S.C. § 105 against Defendants Nationstar, Inc. and
         Federal National Mortgage Association, jointly and severally, as applicable;
    D. On her Fourth Claim for Relief, all actual damages of at least $6,175.86 and in an amount
         to be determined at trial, statutory damages of Two Thousand Dollars ($2,000.00) for
         each violation contained within the Fourth Claim of Relief plus Plaintiff’s Attorneys’
         Fees and Costs against Defendant Nationstar Inc.
    E. For her Fifth Claim for Relief, all actual damages in an amount to be determined at trial,
         all statutory damages of at least Four Hundred Dollars ($400.00) but not to exceed Four
         Thousand Dollars ($4,000.00) for each of the ten (10) violations contained therein, supra,
         plus Plaintiff’s Attorneys’ Fees and Costs against Defendant Federal National Mortgage
         Association;
    F. For their Sixth Claim for Relief, all actual damages in an amount to be determined at
         trial, all statutory damages of One Thousand Dollars ($1,000.00) per violation plus
         Plaintiff’s Attorneys Fees and Costs against Defendant Nationstar, Inc.;
    G. For their Seventh Claim for Relief, the greater of actual damages of at least $6,175.86 in
         an amount to be determined at trial, plus punitive damages of $500,000.00 together with
         the Plaintiff’s Attorneys’ Fees and Costs pursuant to Statute and pursuant to the Note and
         Deed of Trust and expenses and any equitable relief this Court considers necessary or
         proper, OR $200.00 pursuant to ORS § 646.638(1) against the Defendants, jointly and
         severally, as applicable;
    H. On all Plaintiff’s Claims for Relief for their attorneys’ fees and all costs pursuant to the
         Deed of Trust and ORS § 20.096;

                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
                                                                                                  14705 SW Millikan Way
Page 15 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
    I. On all Plaintiff’s Claims for Relief for their costs and disbursements incurred herein; and
    J. Any other relief this Court deems equitable and just.

         DATED: This 10th Day of October, 2019

                                                        Respectfully submitted,

                                                        /s/Alexzander C.J. Adams
                                                        Alexzander C.J. Adams, OSB Bar No. 082441
                                                        /s/ Noah Bishop
                                                        Noah C. Bishop, OSB Bar No. 092871
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                                                        Of Attorneys for Plaintiff Denice Irlene Ward




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                                                                                                  14705 SW Millikan Way
Page 16 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
          3.      This Court has supplemental jurisdiction of any related State or Federal law
claims for relief in this action under 28 U.S.C. § 1367, 28 U.S.C. § 1367, 28 U.S.C. § 1331
and/or 28 U.S.C. § 1337 based on Plaintiff’s claims under the Real Estate Settlement Procedures
Act, 12 U.S.C. § 2605, the Truth in Lending Act, 15 U.S.C. § 1601, et seq., the Fair Debt
Collection Practices Act, 15 U.S.C. § 1691, et seq.
          4.      Pursuant to LR 5010-1(a), Plaintiff’s current mailing address is 849 South
Oleander Cornelius, Oregon 97113.
          5.      Defendant Federal National Mortgage Association is a government sponsored
enterprise and a publicly traded company which pursuant to its pooling and servicing servicing
agreement is the party to which Plaintiff may assert claims for any violations of the Loan
committed by the Trust.
          6.      Defendant Nationstar LLC, as registrant for Mr. Cooper, which purchased Seterus
LLC is a mortgage servicer with its principal place of business located in Dallas, Texas. For all
relevant times herein Nationstar was the servicer of the Loan.
          7.      Plaintiff’s claim is a core proceeding under 28 U.S.C. § 157(b)(2) and Plaintiff
consents to entry of final orders and judgments by the Oregon Bankruptcy Court.
                                              NATURE OF CLAIMS
          8.      Pursuant to 11 U.S.C. § 105 and this Court’s inherent and equitable power,
Denice Irlene Ward (“Plaintiff”), by and through counsel, seek an Order from this Court finding
Defendant in breach of the settlement agreement, in violation of 11 U.S.C. § 524, § 1301,
§105(a), Breach of Contract, Breach of Duty of Good Faith and Fair Dealing, Violations of 12
C.F.R. § 1024.35, et seq. - Real Estate Settlement Procedures Act (RESPA), Violations of 15
U.S.C. §1601, et seq. - Truth in Lending Act (TILA), Violations of 15 U.S.C. §1691, et seq. -
Fair Debt Collection Practices Act (FDCPA), and Violations of Oregon Unfair Trade Practices
Act.
                                           SUMMARY OF CLAIMS
          9.      In January 2013, the CFPB issued a number of final rules concerning mortgage
markets in the United States, pursuant to the DFA, Public Law No. 111-203, 124 Stat. 1376
(2010).
          10.     Mrs. Ward is an “individual” or “consumer” as those terms are defined by federal
and state statutes.

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Page 3 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
         11.      Mrs. Ward’s Loan is a “federally related mortgage loan” as said term is defined
by 12 C.F.R. § 1024.2(b).
         12.      Mrs. Ward’s Loan is a “consumer transaction” as said term is defined by the
FDCPA as the Loan was taken out for Mrs. Ward’s personal use.
         13.      Nationstar Inc. is subject to Regulations X and Z and does not qualify for the
exception for “small servicers”, as such term is defined in 12 C.F.R. § 1026.41(e)(4), nor the
exemption for a “qualified lender”, as such term is defined in 12 C.F.R. § 617.700.
         14.      Nationstar Inc. is a “debt collector” as that term is defined by the FDCPA.
         15.      Nationstar Inc. and Federal National Mortgage Association are a “Creditor” as
that term is defined by the Bankruptcy Code.
         16.      Mrs. Ward asserts a claim for relief against Nationstar Inc. for breaches of the
specific rules under Regulation X as set forth, infra.
         17.      Mrs. Ward asserts a claim for relief against Federal National Mortgage
Association for breaches of the specific rules under Regulation Z as set forth, infra.
         18.      Mrs. Ward asserts a claim for relief against Nationstar Inc. and Federal National
Mortgage Association for breaches of orders of the Bankruptcy Court as set forth, infra.
         19.      Mrs. Ward asserts a claim for relief against Nationstar Inc. for violations of the
Fair Debt Collection Practices Act as set forth, infra.
         20.      Mrs. Ward asserts a claim for relief against Nationstar and Federal National
Mortgage Association for breaches of the Oregon Unfair Trade Practices Act, as set forth, infra.
         21.      Mrs. Ward also asserts claims under common law against the Defendants, jointly
and severally as applicable for breach of contract.
                                         FACTUAL BACKGROUND
                                       (Prior Litigation with Fannie Mae)
         Like many borrowers during the late 2000s and early 2010s Mrs. Ward suffered some
economic hardships which compelled her to file a Chapter 13 Bankruptcy to reorganize her debts
and save the family home.
         22.      Mrs. Ward was a Debtor in Chapter 13 Case No. 12-33720-PCM13filed in the
United States Bankruptcy Court for the District of Oregon on May 14, 2012. (the “Bankruptcy
case”) Mrs. Ward completed her Chapter 13 Plan and was discharged on September 07, 2016.



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                                                                                                  14705 SW Millikan Way
Page 4 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
         24.      Since the Chapter 13 was discharged the Mrs. Ward and Fannie Mae were
opposing parties in a separate Motion for Contempt brought by Mrs. Ward related to Fannie
Mae’s inability to properly account for the pre-discharge and post-discharge mortgage payment
disbursements.
         25.      Mrs. Ward and Fannie Mae reached a settlement on the dispute. As part of the
settlement, Fannie Mae (through its Servicer) was instructed to…”provide Plaintiff in the
ordinary course of business, a mortgage statement on November 1, 2018 showing that Plaintiff is
current on her mortgage for 849 South Oleander Cornelius, Oregon 97113; she does not owe any
delinquent fees, charges, and is current with her payments; and that the escrow account is
current, other than for naturally occurring annual increases in taxes and insurance that may have
happened since her last escrow statement.”
         26.      As agreed to and instructed Mrs. Ward tendered the contractual mortgage
payment of $1,029.31 monthly to Seterus
         27.      Plaintiff did not receive a mortgage statement from Seterus in either November
of 2018 or December of 2019.
         28.      In January of 2019 Plaintiff received a mortgage statement from Seterus misstated
what she owed and demonstrated that her payments had been misapplied. On Jan. 28, 2019
Plaintiff, through Counsel, demanded Seterus cease collection of erroneous attorney fees it was
charging Plaintiff and to provide a conforming mortgage statement. Seterus agreed to cease
collection of the fees but did not provide the conforming mortgage statement.
         29.       On February 13, 2019 Plaintiff received a mortgage statement from Seterus that
misstated what she owed and demonstrated that her payments had been misapplied. A copy of
the February 13, 2019 statement is attached as Exhibit A to this Complaint.
         30.      On February 26, 2019 the Plaintiff, through Counsel, received correspondence
from Seterus, a copy of which is attached as Exhibit B, in which Seterus explicitly stated that as
of February 26, 2019, “the loan is contractually current”. See Exhibit B at p. 1
         31.      On or about March 15, 2019 Plaintiff’s Counsel received written notification that
Defendant Nationstar had acquired Ward’s mortgage loan and that as of March 1, 2019
Nationstar would be the servicer of Ward’s mortgage loan.
         32.      On March 20, 2019 Plaintiff attempted, over the phone, to obtain information
from Defendant Nationstar to allow her to refinance her home. Plaintiff also reached out to

                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
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Page 5 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
Defendant Nationstar with concerns over how her mortgage was being handled and questions
about what was owed. During this call, Defendant Nationstar refused to discuss the loan or the
servicing problems with the Plaintiff .
         33.      On March 22, 2019 Plaintiff received a mortgage statement from Defendant
Nationstar that misstated what she owed, stated that she was behind on her loan in the amount of
$3,086.08, and demonstrated that her payments had been misapplied. A copy of the March 22,
2019 statement is attached as Exhibit C to this Complaint.
         34.      On April 12, 2019 Plaintiff received a mortgage statement from Defendant
Nationstar that misstated what she owed and demonstrated that her payments had been
misapplied. This statement, attached as Exhibit D to this Complaint, noted that the Plaintiff was
$4,117.24 delinquent. See Exhibit D at p. 1
         35.      Plaintiff received a mortgage statement dated May 20, 2019 from Defendant
Nationstar that misstated what she owed and demonstrated that her payments had been
misapplied. This statement, attached as Exhibit E to this Complaint, noted that the Plaintiff was
$5,146.55 delinquent. See Exhibit E at p. 1
         36.      Despite being current on her payments, Plaintiff received a letter from Defendant
Nationstar dated June 5, 2019 stating that her loan was past due. This letter, attached as Exhibit
F to this Complaint, notified Ward that “As of 05/01/2019, your loan is past due”. Exhibit F at p.
1
         37.      Plaintiff received a mortgage statement from Defendant, dated June 18, 2019, that
misstated what she owed and demonstrated that her payments had been misapplied. This
statement, attached as Exhibit G to this Complaint, noted that the Plaintiff was $6,175.86
delinquent. See Exhibit G at p. 1
         38.      During this time Plaintiff was desperately trying to refinance her loan so that she
could pay for a new roof before winter and escape from the incompetence of Seterus and
Nationstar Her loan officer assisted Plaintiff in trying to obtain the payoff quote but was
unsuccessful.
         39.      Plaintiff sent Defendant Nationstar a letter dated June 26, 2019 demanding a
payoff quote pursuant to 12 C.F.R. § 1026.36(c)(3) (“RFI #1”). A copy of RFI #1 is attached as
Exhibit H
         40.      . Defendant Nationstar did not provide the payoff quote in response to RFI #1.

                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
                                                                                                  14705 SW Millikan Way
Page 6 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
         41.      On July 12, 2019 Plaintiff spoke with a representative of Fannie Mae and
Nationstar and neither was able to provide her a payoff quote.
         42.      Plaintiff had another conversation with the Fannie Mae on July 20, 2019 and it
was still unable to provide a payoff quote nor explain its erroneous accounting.
         43.      On July 25, 2019 Plaintiff emailed a demand for a payoff quote within 10 days to
Fannie Mae at the email address it provided. Defendant Fannie Mae did not reply.
         44.      Plaintiff’s attorneys sent a Notice of Error (“NOE #1”) to both Defendants on July
29, 2019 along with another demand for a payoff quote. A copy of NOE #1 is attached as Exhibit
I.
         45.      The payoff quote was not received by Plaintiff until August 19, 2019.
         46.      Through counsel, Plaintiff received a history of the loan that does not reflect that
Fannie Mae and/or Nationstar have abided by the terms of the prior settlement agreement.
                           IMPACT OF DAMAGE UPON DENICE WARD
         47.      Based on the allegations above Nationstar and Fannie Mae engaged in a now nine
month violation of the settlement agreement from the Bankruptcy case. Nationstar, Fannie Mae
and Mrs. Ward knew based on an agreed settlement what the intention was for all payments
tendered since entering into the agreement.
         48.      Despite the settlement agreement and the fact that the Plaintiff had tendered all
payments due, the Defendants failed to properly apply six months of payments.
         49.      Defendants repeatedly refused to disclose a payoff quote to Plaintiff despite its
obligations under 12 C.F.R. § 1026.36(c)(3).
         50.      Defendants were aware of the difficulty and emotional hardship that this was
causing for Plaintiff. The previous litigation with Defendant had left Plaintiff vulnerable and
Defendant’s refusal to allow heraccess to her loan was humiliating.
         51.       Defendant’s failure to timely respond to the Notice of Error further exacerbated
the on-going misapplication of payments and inability of Plaintiff to refinance her mortgage
because if Defendant had conducted a reasonable investigation of the detailed payments,
Defendant would have discovered that the loan was current and could be paid off.
         52.      As a result of the actions of the Defendants as detailed herein, Mrs. Ward has
suffered actual economic damages including but not limited to: (1) time spent handling, change
in the price she needs to pay for a rush job, a potential change in interest rates, and costs

                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
                                                                                                  14705 SW Millikan Way
Page 7 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
stemming from the delay in her application, as well as the employment of counsel. In addition to
the actual economic damages above, the Plaintiff has suffered non-economic damages in a yet to
be determined amount related to: (1) The emotional distress from Defendant’s refusal to provide
a payoff quote or properly apply her payments which has resulted in loss of sleep, anxiety,
depression, embarrassment, and other significant emotional distress; and (2) the continued
emotional distress driven by the fear that she may have to lose her home if its roof can’t be fixed.
                               COUNT ONE: AGAINST ALL DEFENDANTS
                                                 [Breach of Contract]


         53.      Plaintiff restates and incorporates all of her statements and allegations contained
in Paragraphs 1 through 59 in their entirety as if fully rewritten herein.
         54.      The Loan is an enforceable contract between the Plaintiff and Federal National
Mortgage Association as well as Federal National Mortgage Association’s servicers for the
relevant times herein, Seterus Inc. (all relevant times through March 1, 2019) which became
Nationstar Mortgage (March 1, 2019 to the present).
         55.      Based on the allegations herein Plaintiff tendered all required payments to
Defendants since November 1, 2018.
         56.      Based on the allegations contained herein as well as Exhibits A through H, has
failed to properly account for those tendered payments.
         57.      Mrs. Ward has performed her obligations as required by the terms of the Loan and
the settlement in the Bankruptcy Case.
         58.      Based on Paragraphs 1 and 2 of the Deed of Trust, Fannie Mae and Nationstar had
an obligation to properly apply all funds when tendered to the balances owed to the interest,
principal, escrow, late fees, and then any other corporate advances due on the Loan. Based on the
allegations contained herein, supra, these funds have not been credited which led to the improper
declaration of default of the Loan. Based on Exhibits A through G, Nationstar and/or Fannie Mae
has taken funds directly earmarked to go to those loan accounts and applied those funds to other
balances due on the loan and/or in an improper manner as required under the Note, Deed of Trust
and the Settlement Agreement in the Bankruptcy Case.
         59.      Based on the allegations herein the Defendants have each breached the Loan
agreement and this breach is one of bad faith as demonstrated by the allegations, supra, and

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Page 8 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
Exhibits A through G. Nationstar Inc. has failed to exercise reasonable diligence in the service of
the Loan. Both Defendants owe Mrs. Ward a fiduciary duty to handle payments of principal,
interest, and escrow properly. Nationstar Inc., on behalf of the Federal National Mortgage
Association, has breached its duty by failing to accept and apply payments made in accordance
with the terms of the Settlement and the Loan.
         60.      Defendants have breached the contract and Plaintiff is entitled to actual damages
against all Defendants of at least $6,175.86.
                              COUNT TWO: AGAINST ALL DEFENDANTS
                              [Breach of Duty of Good Faith and Fair Dealing]

         61.      Plaintiff restates and incorporates all of her statements and allegations contained
in Paragraphs 1 through 59 in their entirety as if fully rewritten herein.
         62.      The Defendants owed Plaintiff a duty of good faith and fair dealing, which is
implied in every agreement.
         63.      Defendants breached those duties, as described above, and further breached their
duties to Plaintiff by, failing to timely acknowledge and accurately review all of the paperwork
sent in by Plaintiffs, and/or by improperly denying Plaintiff’s repeated requests for a payoff
quote.
         64.      As the direct and proximate result of Defendants’ breaches, Plaintiff has incurred
damages in an amount of to be determined.. The Plaintiff also claims her right to attorney fees
and costs pursuant to the deed of trust and ORS 20.096.
     COUNT THREE: AGAINST FEDERAL NATIONAL MORTGAGE ASSOCIATION
             [Violation of 11 U.S.C. 105 - Violation of Court Order on Settlement]
                [Violation of 11 U.S.C. 105 - Violation of Fed. Bank. R. 3002.1]
      [Violation of 11 U.S.C 541(i) – Failure to Properly Credit Payments Made Under a
                                       Chapter 13 Plan]

         65.      Plaintiff restates all allegations contained in Paragraphs 1 through 59 with the
same force and effect as though fully set forth herein.
         66.      Based on the allegations above both of the Defendants were an active participant
in the Mrs. Ward’s Bankruptcy.
         67.      Despite the existence of a Settlement Agreement entered into with the Bankruptcy
Court for violations of the Court’s Orders related to Fed. Bankr. R. 3002.1 and 11 U.S.C. 541(i),


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Page 9 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
Fannie Mae’s loan servicers – Seterus and now Nationstar - have willfully mishandled the
contractual mortgage payments after the discharge order of this court for over three years.
         68.      Fannie Mae and Nationstar’s above-described actions are deliberate and are
intentional adverse acts done with respect to the Plaintiff’s Mortgage Loan and Plaintiffs’ credit
reports.
         69.      Fannie Mae and Nationstar‘s policies and procedures show a complete and
reckless disregard toward the Orders of the Bankruptcy Court. The actions of Federal National
Mortgage Association and Nationstar Inc. as demonstrated by Exhibits A through G have caused
material injuries to the Plaintiff and have caused the Plaintiff lost time, undue hardship, stress,
and damage to her credit.
         70.      The actions of Fannie Mae and Nationstar as demonstrated by Exhibits A through
G indicate a systemic problem within Federal National Mortgage Association and Nationstar Inc.
concerning how it processes Orders of the Bankruptcy Court and handles the accounting of
mortgage loans.
         71.      As a result of the Defendants’ actions, Fannie Mae and Nationstar are each liable
to the Plaintiff for actual damages in a total amount to be determined at trial, attorneys’ fees and
costs, and a finding of punitive damages under 11 U.S.C. § 105 in an amount this Court deems
just and proper.
                          COUNT FOUR: AGAINST NATIONSTAR
     [Failure to Properly Acknowledge a Notice of Error in Violation of 12 C.F.R. § 1024.35
        and Failure to Respond to a Notice of Error in Violation of 12 C.F.R. § 1024.35]

         72.      Plaintiff restates all allegations contained in Paragraphs 1 through 59 as if fully
restated herein.
         73.      12 C.F.R. § 1024.35(a) provides “[a] servicer shall comply with the requirements
of this section for any written notice from the borrower that asserts an error and that includes the
name of the borrower, information that enables the servicer to identify the borrower's mortgage
loan account, and the error the borrower believes has occurred.”
         74.      12 C.F.R. § 1024.35(d) provides that a servicer must acknowledge in writing
receiving a notice of error from a borrower within five days of receipt.
         75.      12 C.F.R. § 1024.35(a) provides “[a] servicer shall comply with the requirements
of this section for any written notice from the borrower that asserts an error and that includes the

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                                                                                                  14705 SW Millikan Way
Page 10 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
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name of the borrower, information that enables the servicer to identify the borrower's mortgage
loan account, and the error the borrower believes has occurred.”
         76.      Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. §1024.35(a)
provides that “[a] notice of error is submitted by a borrower if the notice of error is submitted by
an agent of the borrower.”
         77.      12 C.F.R. §1024.35(e)(1) provides that a servicer must respond to a notice of
error by either correcting the error or errors identified by the borrower and providing the
borrower with a written notification of the correction, the effective date of the correction, and
contact information, including a telephone number, for further assistance” or by conducting a
reasonable investigation and providing the borrower with a written notification that includes a
statement that the servicer has determined that no error occurred, a statement of the reason or
reasons for this determination, a statement of the borrower's right to request documents relied
upon by the servicer in reaching its determination, information regarding how the borrower can
request such documents, and contact information, including a telephone number, for further
assistance.”
         78.      As stated above, supra, Plaintiff sent Nationstar Inc. a Notice of Error July 26,
2019 to Nationstar Inc.’s designated address for such. See Exhibit I.
         79.      Exhibit I contained substantive allegations of errors in violation of 12 C.F.R.
1024.35(b)(2) and/or 12 C.F.R. 1024.35(b)(11) as well as errors in violation of 12 C.F.R.
1024.35(b)(5). See Exhibit I.
         80.      Exhibit I contained substantive allegations of errors in violation of 12 C.F.R.
1024.35(b)(11). See Exhibit I.
         81.      Based on the allegations herein Plaintiff made at least three requests to Nationstar,
the last as part of the Notice of Error, and did not receive a response within seven business days.
         82.      Nationstar has committed at least three (3) willful violations of Regulation X.
         83.      Based on the allegations herein, the actions of Nationstar are part of a pattern and
practice of behavior in conscious disregard for Plaintiff’s rights.
         84.      As a result of such actions, Nationstar is liable to Plaintiff for actual damages as
described, supra, as well as for statutory damages per violation, costs, and attorneys’ fees.
                              COUNT FIVE: AGAINST FANNIE MAE
                                  Violation of 12 C.F.R. §1026.41
               [Violation of TILA - failure to send correct periodic billing statements]

                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
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Page 11 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
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         85.      Plaintiff restates and incorporates all of her statements and allegations contained
in paragraphs 1 through 59 in their entirety, as if fully rewritten herein.
         86.      12 C.F.R. §1026.41(a) requires that a servicer must provide the consumer a
periodic statement meeting the requirements of 12 C.F.R. §1026.41 for each billing cycle of the
transaction.
         87.      12 C.F.R. §1026.41(d) provides that the required periodic billing statements shall
include information including the amount due, an explanation of the amount due, delinquency
information, and account information including the current outstanding principal balance and
interest rate.
         88.      Plaintiff is a consumer as that term is defined by TILA.
         89.      From November 1, 2018 through December 31, 2018, Fannie Mae, through its
servicer, failed to send a periodic billing statement to be sent to Plaintiff. This is two (2) months
of missing statements.
         90.      Despite the failure of Fannie Mae through its servicer(s) to send the November
2018 and December 2018 statements, Fannie Mae through its servicers Seterus and Nationstar
sent periodic billing statements from January 2019 to the present. See Exhibits A, C, D, E, G
generally.
         91.      Fannie Mae should have known that it was obligated to provide a periodic billing
statement for November of 2018 and December of 2018 both because it is mandated by
Regulation z to TILA but also because it was required bythe settlement agreement.
         101.     In addition to failing to send the statements for November 2018 and December 2018
based on the allegations herein and Exhibits A, C, D, E and G, Fannie Mae through its servicers
have sent nine (9) statements which contain inaccurate information including but not limited to (1)
the amount past due; (2) unapplied partial payments and (3) Interest Bearing Principal Balance.
See Exhibits A, C, D, E, and G generally.
         102.     The knowing failure to transmit accurate and truthful information through the
periodic billing statements wholly defeated the purpose of such statements, that is, to properly
provide accurate disclosures to the Plaintiff as to their obligations on the Loan.
         103.     Based on the allegations above each of these violations herein caused the Plaintiff
to be harmed by never knowing what the correct balance of the loan was as well as by suffering

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                                                                                                  14705 SW Millikan Way
Page 12 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
continued concern that her payments were not being applied properly. Fannie Mae’s actions, as
done by their servicers described herein, demonstrate a pattern and practice in conscious disregard
of Plaintiff’s rights.
         104.     As a result of the above violations described herein, Fannie Mae is liable to the
Plaintiff for statutory damages of at least $400.00 but not to exceed $4,000.00 for each of the ten
(10) separate violations, actual damages of at least $6,175.86, and reasonable attorneys’ fees and
costs.
                          COUNT SIX: AGAINST NATIONSTAR
                                Violation of 15 U.S.C. §1692k
                     [Violation of the Fair Debt Collection Practices Act]

         105.     Plaintiff restates and incorporates all of her statements and allegations contained in
paragraphs 1 through 59 in their entirety, as if fully rewritten herein.
         106.     Based on the allegations herein and Exhibits C through G, Nationstar, Inc. acted at
all times in the servicing of this loan as a debt collector as it began servicing this loan at a time
when it was in default.
         107.     Plaintiff is a consumer as that term is defined by the FDCPA.
         108.     The Loan is a consumer debt as that term is defined by the FDCPA because the
Loan was incurred for household purposes--namely the financing of a deed of trust on the
Plaintiff’s residence.
         109.     Based on the allegations contained herein, supra, each of the six (6) statements sent
by Nationstar (either as Nationstar or Seterus) contain a misrepresentation of the character, amount
and legal status of the loan. Nationstar (either as Nationstar or Seterus) represented to Plaintiff in
each of these statements that she owed sums on the loan which were not in fact true. See Exhibits
A through G
         110.     Nationstar sent Plaintiff a letter misrepresenting that her loan was past due and
states that Nationstar is a debt collector attempting to collect a debt. See Exhibit F
         111.     Based on the fact that Nationstar took over servicing of the loan from Seterus Inc.
after the settlement agreement had been entered into by the parties Nationstar knew or should have
known, of the Settlement in the Bankruptcy Case. Nationstar violated 15 U.S.C. §1692(f) by
sending each statement like Exhibits A, C, D, E, and G because its conduct as outlined herein
constitutes an unconscionable means to collect or to attempt to collect a debt.


                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
                                                                                                  14705 SW Millikan Way
Page 13 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
         117.     Plaintiff was damaged by the above actions as described supra.
         118.     Nationstar has violated the FDCPA and is liable to Plaintiff for an award of
statutory damages, actual damages, and legal fees pursuant to 15 U.S.C. §1692k(a).
                           COUNT SEVEN: ALL DEFENDANTS
                    (Violation of the Oregon Unfair Trade Practices Act)

         119.     Plaintiff restates and reincorporates the allegations contained in Paragraphs 1
through 50 as if set forth in full herein.
         120.     The Defendants, acting within the course of their business, did within the State of
Oregon sell or offer to sell services that are covered by ORS § 646.605 and ORS § 646.608 and
the services were primarily used for personal, family or household purposes. Specifically Seterus
and Nationstar, Inc., on behalf of Federal National Mortgage Association, held themselves out as
the servicers of the Deed of Trust which involved the “Loan” as that term is defined by ORS §
646.605
         121.     Based on the allegations above, supra, and more specifically described in
Paragraphs 1 through 59 the Defendants, as applicable, did willfully and/or negligently engage in
conduct in violation of ORS § 646.608(1)(u) and (4), and OAR 137-020-0805(3) and (6). The
Plaintiff has suffered an ascertainable loss as a result of the unfair trade practice of at least
$6,175.86.
         122.     More specifically Defendants Nationstar and Fannie Mae have failed to deal with
Plaintiff in good faith following the settlement in the Bankruptcy. As demonstrated by Exhibits
A-I and the allegations herein, supra, Nationstar and Fannie Mae have repeatedly engaged in a
pattern of misapplying the tendered payments by Plaintiff since November 2018.
         123.     At all material times each of the Defendants acted knowingly, willfully,
maliciously, and with a reckless and outrageous indifference to a highly unreasonable risk of
harm and a conscious indifference to the health, safety, and welfare of Plaintiff.
         124.     Plaintiff is therefore entitled to the greater of: actual in an amount to be
determined plus punitive damages of $500,000.00 together with their attorney’s fees and costs
pursuant to the statute and pursuant to the Note and Deed of Trust, and expenses and any
equitable relief the court considers necessary or proper, or $200 pursuant to ORS § 646.638(1).
                                            PRAYER FOR RELIEF
         WHEREFORE Plaintiff Denice Ward prays for relief as follows on her claim against

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                                                                                                  14705 SW Millikan Way
Page 14 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
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Defendants Federal National Mortgage Association and Nationstar LLC
    A. On her First Claim for Relief for Plaintiff’s actual damages of at least $6,175.86 and in an
         amount to be determined at trial against the Defendants, jointly and severally, as
         applicable;
    B. On her Second Claim for Relief for Plaintiff’s actual damages of at least $6,175.86, and
         in an amount to be determined at trial against Defendants, jointly and severally, as
         applicable;
    C. On her Third Claim for Relief, all actual damages in an amount to be determined at trial,
         all punitive damages in an amount to be determined at trial plus Plaintiff’s Attorneys’
         Fees and Costs pursuant to 11 U.S.C. § 105 against Defendants Nationstar, Inc. and
         Federal National Mortgage Association, jointly and severally, as applicable;
    D. On her Fourth Claim for Relief, all actual damages of at least $6,175.86 and in an amount
         to be determined at trial, statutory damages of Two Thousand Dollars ($2,000.00) for
         each violation contained within the Fourth Claim of Relief plus Plaintiff’s Attorneys’
         Fees and Costs against Defendant Nationstar Inc.
    E. For her Fifth Claim for Relief, all actual damages in an amount to be determined at trial,
         all statutory damages of at least Four Hundred Dollars ($400.00) but not to exceed Four
         Thousand Dollars ($4,000.00) for each of the ten (10) violations contained therein, supra,
         plus Plaintiff’s Attorneys’ Fees and Costs against Defendant Federal National Mortgage
         Association;
    F. For their Sixth Claim for Relief, all actual damages in an amount to be determined at
         trial, all statutory damages of One Thousand Dollars ($1,000.00) per violation plus
         Plaintiff’s Attorneys Fees and Costs against Defendant Nationstar, Inc.;
    G. For their Seventh Claim for Relief, the greater of actual damages of at least $6,175.86 in
         an amount to be determined at trial, plus punitive damages of $500,000.00 together with
         the Plaintiff’s Attorneys’ Fees and Costs pursuant to Statute and pursuant to the Note and
         Deed of Trust and expenses and any equitable relief this Court considers necessary or
         proper, OR $200.00 pursuant to ORS § 646.638(1) against the Defendants, jointly and
         severally, as applicable;
    H. On all Plaintiff’s Claims for Relief for their attorneys’ fees and all costs pursuant to the
         Deed of Trust and ORS § 20.096;

                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
                                                                                                  14705 SW Millikan Way
Page 15 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
    I. On all Plaintiff’s Claims for Relief for their costs and disbursements incurred herein; and
    J. Any other relief this Court deems equitable and just.

         DATED: This 10th Day of October, 2019

                                                        Respectfully submitted,

                                                        /s/Alexzander C.J. Adams
                                                        Alexzander C.J. Adams, OSB Bar No. 082441
                                                        /s/ Noah Bishop
                                                        Noah C. Bishop, OSB Bar No. 092871
                                                        Law Offices of Alexzander C. J. Adams, P.C.
                                                        14705 SW Millikan Way
                                                        Beaverton, OR 97006
                                                        Telephone: (503) 278-5400
                                                        Facsimile: (888) 588-5410
                                                        alexz@acjalaw.com
                                                        noah@acjalaw.com

                                                        Marc E. Dann, Ohio Bar No. 0039425 (Lead
                                                        Counsel) (Pro Hac Vice Pending)
                                                        DannLaw
                                                        PO Box 6031040
                                                        Cleveland, OH 44103
                                                        Telephone: (216) 373-0539
                                                        Facsimile: (216) 373-0536
                                                        notices@dannlaw.com

                                                        Of Attorneys for Plaintiff Denice Irlene Ward




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                                                                                                  14705 SW Millikan Way
Page 16 of 18 – COMPLAINT FOR VIOLATION OF 11 U.S.C. § 542 ET AL.
                                                                                                     Beaverton, OR 97006
                BANKRUPTCY CASE NO. 12-33720-PCM13
                                                                                                      Noah@acjalaw.com
                             Case 19-03107-tmb              Doc 1   Filed   10/10/19                  Fax: (888) 588-5410
                                                                                                   Office: (503) 278-5400
                        Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit A Page 1 of 4
                        Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit A Page 2 of 4
                        Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit A Page 3 of 4
                        Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit A Page 4 of 4
                                             Page 1 of 1
                                             Exhibit B
Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit C
Page 1 of 4   Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit C
Page 2 of 4   Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit C
Page 3 of 4   Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit C
Page 4 of 4   Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit D
Page 1 of 4   Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit D
Page 2 of 4   Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit D
Page 3 of 4   Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit D
Page 4 of 4   Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit E
Page 1 of 1   Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit F     Case 19-03107-tmb   Doc 1   Filed 10/10/19
Page 1 of 3
Exhibit F     Case 19-03107-tmb   Doc 1   Filed 10/10/19
Page 2 of 3
Exhibit F     Case 19-03107-tmb   Doc 1   Filed 10/10/19
Page 3 of 3
Exhibit G
Page 1 of 2   Case 19-03107-tmb   Doc 1   Filed 10/10/19
Exhibit G
Page 2 of 2   Case 19-03107-tmb   Doc 1   Filed 10/10/19
                                                                               June 26, 2019
         Mr. Cooper
         Attn: Payoff Department
         Lake Vista 4
         800 State Highway 121 Bypass
         Lewisville, TX 75067


         RE: Payoff Quote
         Loan number:
         Borrower: Denice I Ward
         Property Address:
                             849 S Oleander
                             Cornelius, Oregon 97113


         Please mail Payoff Quote to property Address.


         Mr. Cooper:
               I would like a payoff Quote for my loan number
                This request is being made pursuant to 12 C.F.R. § 1026.36(c)(3) “In
         connection with a consumer credit transaction secured by a consumer's dwelling, a
         creditor, assignee or servicer, as applicable, must provide an accurate statement of
         the total outstanding balance that would be required to pay the consumer's
         obligation in full as of a specified date. The statement shall be sent within a
         reasonable time, but in no case more than seven business days, after receiving a
         written request from the consumer or any person acting on behalf of the
         consumer.”


         Please provide the information within the next seven business days.


                                               Thank you,




                                                             Denice W ard




Exhibit H
Page 1 of 1                  Case 19-03107-tmb    Doc 1     Filed 10/10/19
                                                     Law Offices of
                                              Alexzander C. J. Adams, P.C.
                                      14705 SW Millikan Way Beaverton, OR 97006
                                      (503) 278-5400 Office     (888) 588-5410 Fax
                                                  www.ACJALaw.com

              JULY 29, 2019
                                                                 Sent via Certified Mail return receipt requested
              Mr. Cooper
              Attn: Customer Relations
              PO Box 619098
              Dallas, TX 75261-9741

              Denice Ward
              849 S Oleander St.
              Cornelius, OR 97113

              Mr. Cooper Account No.
              Property Address:
              849 S Oleander St.
              Cornelius, OR 97113

              RE: Notice of Error pursuant to 12 C.F.R. §1024.35(b)(2)
              and/or 12 C.F.R 1024.35(b)(11) for failure to properly apply
              payments to principal, interest, escrow, or other charges under
              the terms of the mortgage loan, agreed modification, and
              applicable law; (6) Failure to provide an accurate payoff
              balance amount upon a borrower's request in violation of
              section 12 CFR 1026.36(c)(3)

              Dear Sir or Madam:

              Please consider this letter to constitute a Notice of Error under 12 C.F.R. § 1024.35 of
              Regulation X of the Mortgage Servicing Act under the Real Estate Settlement Procedures
              Act (RESPA), which became effective on January 10, 2014. These amendments
              implemented the Dodd-Frank Wall Street Reform and Consumer Protection Act
              provisions regarding mortgage loan servicing.

              Pursuant to 12 C.F.R. § 1024.35(d), within five (5) days of your receipt of this notice,
              excluding legal public holidays, Saturdays and Sundays, you must send a written
              response acknowledging such receipt.


                                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
              Page 1 of 3 – NOTICE OF ERRORS FOR MORTGAGE HELD BY DENICE WARD                                     14705 SW Millikan Way
                                                                                                                     Beaverton, OR 97006
Exhibit I                                                                                                             Noah@acjalaw.com
Page 1 of 3                          Case 19-03107-tmb             Doc 1        Filed   10/10/19                    Fax: (888) 588-5410
                                                                                                                   Office: (503) 278-5400
              Pursuant to 12 C.F.R. § 1024.35(e)(3)(i)(C), within thirty (30) days of your receipt of this
              notice, excluding legal public holidays, Saturdays and Sundays, you must send a written
              response to this notice in compliance with the express requirements of 12 C.F.R. §
              1024.35(e)(1).

              The written authority of the above-referenced borrower (the “Borrower”) for this notice
              to our law firm is enclosed and incorporated herein by this reference.
              ________________________________________________________________________

              NOTICE OF ERROR PURSUANT TO 12 C.F.R. 1024.35(b)(2) and/or 12 C.F.R.
              1024.35(b)(11) FOR FAILING TO PROPERLY APPLY PAYMENTS.

              The Borrower asserts you have failed to properly credit all payments tendered by the
              Borrower in accordance with her contract:

              1.      Borrower received a monthly statement dated March 22, 2019 which states that
              Borrower made a payment of $1031.16 on March 13, 2019 which was applied to an
              suspense account. The Statement also states that Borrower’s monthly payment is
              $1,029.31. Therefore Borrower’s payment was misapplied.
              2.      Borrower received a monthly statement dated March 22, 2019 which states that
              Borrower made no payments in 2019. However, when the debt was transferred Borrower
              was current. Therefore Borrower’s January 2019 payment was misapplied.
              3.      Borrower received a monthly statement dated March 22, 2019 which states that
              Borrower made no payments in 2019. However, when the debt was transferred Borrower
              was current. Therefore Borrower’s February 2019 payment was misapplied.
              4.      Borrower received a monthly statement dated April 2, 2019 which states that
              Borrower owes $5,146.55 in payment amount. This is a $2,065.87 increase over the
              previous month and demonstrates that Borrower’s payment for the month of March was
              misapplied.
              5.      Borrower received a monthly statement dated May 20, 2019 which states that
              Borrower made a payment of $1,029.31 on May 9, 2019 which was applied to an
              suspense account. The Statement also states that Borrower’s monthly payment is
              $1,029.31. Therefore Borrower’s payment was misapplied.
              6.      Borrower received a monthly statement dated May 20, 2019 which states that
              Borrower made a payment of $1,029.31 on June 18, 2019 which was applied to an
              suspense account. The Statement also states that Borrower’s monthly payment is
              $1,029.31. Therefore Borrower’s payment was misapplied.
              7.      Borrower received a letter on June 5, 2019 stating that she is passed due, but as
              she has made every payment in compliance with her contract this letter is in error and
              further demonstrates your failure to properly apply her payments.

              A copy of each of these statements is attached for your review. The Borrower alleges
              Mr. Cooper’s actions in failing to apply all mortgage payments referenced above
              constitute at least seven (7) separate and distinct errors in application of all payments
              pursuant to 12 C.F.R. 1024.35(b)(2).
              ________________________________________________________________________

              NOTICE OF ERROR PURSUANT TO 12 C.F.R. 1024.35(b)(6) FAILURE TO
              PROVIDE AN ACCURATE PAYOFF BALANCE AMOUNT UPON A
              BORROWER’S REQUEST IN VIOLATION OF SECTION 12 CFR 1026.36(c)(3).

                                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
              Page 2 of 3 – NOTICE OF ERRORS FOR MORTGAGE HELD BY DENICE WARD                                     14705 SW Millikan Way
                                                                                                                     Beaverton, OR 97006
Exhibit I                                                                                                             Noah@acjalaw.com
Page 2 of 3                          Case 19-03107-tmb             Doc 1        Filed   10/10/19                    Fax: (888) 588-5410
                                                                                                                   Office: (503) 278-5400
              On June 26, 2019 Borrower sent you a letter requesting a payoff Quote for her loan made
              pursuant to 12 C.F.R. § 1026.36(c)(3). It identified her loan number, the property, and
              requested that it be sent within seven (7) business days.

              This failure to provide Borrower her pay-off quote within seven (7) business days of her
              request is a violation of 12 C.F.R. 1024.35(b)6).

              CONCLUSION AND REQUESTED ACTIONS

              Based on the foregoing the Borrower calculates and otherwise alleges that Mr. Cooper
              has committed at least seven (7) errors in the servicing of the Loan as described
              supra.

              Please correct these errors as described herein and provide us with corrected billing
              statements, notification of the correction, the date of the correction, and contact
              information for further assistance; or, after conducting a reasonable investigation, provide
              the Borrower, through our firm, with a notification that includes a statement that you
              have determined that no error occurred, a statement of the reason(s) for this
              determination, a statement of the Borrower’s right to request documents relied upon by
              the servicer in reaching its determination, information regarding how the Borrower can
              request such documents, and contact information for further assistance

              Please send an accurate payoff quote for Borrower Denice Ward, loan no.
              property address 849 S Oleander Cornelius, Oregon 97113, pursuant to 12 C.F.R. §
              1026.36(c)(3) to our office within seven (7) business days.

              Please be advised that for sixty (60) days after receipt of a Notice of Error, you may not
              furnish adverse information to any consumer reporting agency regarding any payment
              that is the subject of the Notice of Error pursuant to 12 C.F.R. §1024.35(i).

                                                                   Sincerely,

                                                                   /s/ Noah Bishop
                                                                   Noah Bishop
                                                                   Attorney at Law
                                                                   OSB Bar # 092871




                                                                                               LAW OFFICES OF ALEXZANDER C.J. ADAMS, PC
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